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                                  UNITED STATES DISTRICT COURT
 9                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
10
     B.F. and A.A., minors, by and through their      Case No.: 2:19-cv-910
11
     guardian Joey Fields; W.B., A.L., K.S., and
12   A.S., minors, by and through their guardian
     Mistie Burris; C.L., a minor, by and through her
13   guardian Melissa Lock; C.O., a minor, by and
     through her guardian Alison Hall-O’Neil; W.R.
14
     and L.R., minors, by and through their guardian
15   William Rowe; J.B and L.B., minors, by and
     through their guardian Doug Boswell; E.J., a
16   minor, by and through her guardian Corey
     Woodhouse; S.M. and C.M., minors, by and
17
     through their guardian Matt McLaughlin; Z.S., a
18   minor, by and through his guardian Stephanie
     Starling; E.B., F.B., S.B., and O.B., minors, by
19   and through their guardian Maria Prunier-
     Brown; R.B., a minor, by and through his
20
     guardian Angela Brine; N.S., a minor, by and
21   through his guardian Erin Shunn; individually
     and on behalf of all others similarly situated,
22
                     Plaintiffs,
23   vs.
24
     AMAZON.COM, INC., a Delaware
25   corporation, and A2Z DEVELOPMENT
     CENTER, INC., a Delaware corporation,
26
                     Defendants.
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      FIRST AM. CLASS ACTION COMPL.                       QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 1                                600 UNIVERSITY STREET SUITE 2800
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 1   FIRST AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
 2           Millions of Americans use Amazon’s smart-speaker technology (“Alexa”) in their
 3   homes. People speak to Alexa-enabled devices such as the Echo or Echo Dot about everything
 4   from the mundane (“Alexa, what’s the weather?”) to the deeply personal (“Alexa, what are the
 5   symptoms of depression?”).
 6           Most people believe that when they speak to an Alexa-enabled device, it converts their
 7   voice into a set of digital computer instructions. They expect that this digital query is sent over
 8   the internet for processing, that a digital response is returned, and that the device then converts
 9   the response into Alexa’s voice. They do not expect that Alexa is creating and storing a
10   permanent recording of their voice. This expectation is reasonable; it would be easy for Alexa to
11   work this way, as numerous other voice-recognition technologies do.
12           But Alexa does something else. After Alexa processes a user’s commands, Amazon
13   saves a permanent recording of the user’s voice to its own servers. It then analyzes and uses
14   these voice recordings for its own commercial benefit. These uses include allowing workers
15   around the world to listen to the voice recordings and creating voiceprints of users, which can be
16   used to identify them when they speak to other devices in other locations. Amazon has thus
17   built a massive database of billions of voice recordings containing the private details of millions
18   of Americans.
19           Amazon purports to obtain consent to record individuals who set up an Alexa-enabled
20   device. But there is a large group of individuals who do not consent to be recorded when using
21   an Alexa-enabled device and who use Alexa without any understanding or warning that Amazon
22   is recording and voiceprinting them: children.
23           Alexa routinely records and voiceprints millions of children without their consent or the
24   consent of their parents. This practice violates the laws of Florida, Illinois, Michigan, Maryland,
25   Massachusetts, New Hampshire, Pennsylvania, and Washington, which prohibit the recording of
26   oral communications without the consent of all parties to the communication. These laws
27   recognize the unique privacy interest implicated by the recording of someone’s voice. That
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 1   privacy interest is all the more powerful in light of modern voiceprinting technology and the
 2   potentially invasive uses of big data by a company the size of Amazon. It takes no great leap of
 3   imagination to be concerned that Amazon is developing voiceprints for millions of children that
 4   could allow the company (and potentially governments) to track a child’s use of Alexa-enabled
 5   devices in multiple locations and match those uses with a vast level of detail about the child’s
 6   life, ranging from private questions they have asked Alexa to the products they have used in
 7   their home.
 8           Plaintiffs, minors, by and through their guardians, bring this Class Action Complaint
 9   against Defendants Amazon.com, Inc., and a2z Development Center, Inc. d/b/a Amazon Lab126
10   (collectively “Amazon” or “Defendants”) to obtain redress for all Florida, Illinois,
11   Massachusetts, Maryland, Michigan, New Hampshire, Pennsylvania, and Washington minors
12   who have used Alexa in their homes and have therefore been recorded by Amazon, without
13   consent. Plaintiffs allege as follows as to themselves, upon personal knowledge of their own
14   acts and experiences, and as to all other matters, upon information and belief, including
15   investigation conducted by their attorneys:
16                                                 PARTIES
17           1.      Plaintiffs B.F. and A.A., and their parent and guardian Joey Fields, are natural
18   persons and citizens of the State of Florida.
19           2.      Plaintiffs W.B., A.L., K.S., A.S., and their parent and guardian Mistie Burris, are
20   natural persons and citizens of the State of Florida.
21           3.      Plaintiff C.L. and her parent and guardian Melissa Lock are natural persons and
22   citizens of the State of Illinois.
23           4.      Plaintiff C.O. and her parent and guardian Alison Hall-O’Neil are natural persons
24   and citizens of the Commonwealth of Massachusetts.
25           5.      Plaintiffs W.R. and L.R., and their parent and guardian William Rowe, are natural
26   persons and citizens of the Commonwealth of Massachusetts.
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 1           6.      Plaintiffs J.B. and L.B., and their parent and guardian Doug Boswell, are natural
 2   persons and citizens of the State of Maryland.
 3           7.      Plaintiff E.J. and her parent and guardian Corey Woodhouse are natural persons
 4   and citizens of the State of Michigan.
 5           8.      Plaintiffs S.M. and C.M., and their parent and guardian Matt McLaughlin, are
 6   natural persons and citizens of the State of Michigan.
 7           9.      Plaintiff Z.S. and his parent and guardian Stephanie Starling are natural persons
 8   and citizens of the State of Michigan.
 9           10.     Plaintiffs E.B., F.B., S.B., and O.B, and their parent and guardian Maria Prunier-
10   Brown, are natural persons and citizens of the State of New Hampshire.
11           11.     Plaintiff R.B. and her parent and guardian Angela Brine are natural persons and
12   citizens of the Commonwealth of Pennsylvania.
13           12.     Plaintiff N.S. and his parent and guardian Erin Shunn are natural persons and
14   citizens of the State of Washington.
15           13.     Defendant Amazon.com, Inc. is a Delaware corporation with its headquarters and
16   principal place of business at 410 Terry Avenue North, Seattle, Washington.
17           14.     Defendant a2z Development Center, Inc., d/b/a Amazon Lab126, is a Delaware
18   corporation with its headquarters and principal place of business located at 1120 Enterprise Way,
19   Sunnyvale, California. Amazon Lab126 is a subsidiary of Amazon.com, Inc.
20                                    JURISDICTION AND VENUE
21           15.     This Court has subject-matter jurisdiction over this dispute under 28 U.S.C.
22   § 1332(d) because the amount in controversy exceeds $5,000,000, exclusive of interest and
23   costs, and because at least one member of each class is a citizen of a different state than at least
24   one Defendant.
25           16.     This Court has personal jurisdiction over Defendants because a substantial part of
26   the, harm, events, and conduct giving rise to Plaintiffs’ claims occurred in Washington, and
27   Defendant Amazon.com, Inc. is headquartered in Washington.
28
      FIRST AM. CLASS ACTION COMPL.                            QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1              17.     Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant
 2   Amazon.com, Inc. is headquartered in this District, and because a substantial part of the events
 3   and conduct giving rise to Plaintiffs’ claims took place in this District.
 4                                        FACTUAL BACKGROUND
 5                                        Amazon and the Alexa Device
 6              18.     After starting as an online book retailer, Amazon has grown into a dominant force
 7   in the retail, internet, and technology sectors. Amazon operates the world’s leading e-commerce
 8   platform, with net sales of $232 billion in 2018.1 Amazon is the world’s largest provider of
 9   cloud computing services. According to some reports, 42% of the internet is powered by
10   Amazon Web Services, which is more than double Microsoft, Google, and IBM combined.2
11   And Amazon also develops technology products including Alexa, the world’s leading voice-
12   responsive personal-assistant technology.
13              19.     Amazon Lab126, headquartered in Sunnyvale, California, began engineering the
14   Echo “smart speaker” in 2010, eventually leading to Amazon.com, Inc. launching the product
15   and the Alexa voice assistant (also developed by Amazon Lab126) on November 6, 2014, with
16   sales commencing shortly thereafter. Since then, Amazon has launched various additional Echo
17   products, including the Echo Dot, Echo Plus, Echo Sub, Echo Show, and Echo Input. Each
18   Echo device contains a speaker, microphones, a small computer, internet connectivity, and the
19   Alexa program.
20              20.     Amazon subsequently added the Alexa program to other Amazon products such
21   as the Amazon Fire TV digital media player. Amazon also allows manufacturers of devices as
22   varied as electrical outlets, lightbulbs, thermostats, and security cameras to offer Alexa
23   integration, allowing users to control those third-party devices through Alexa. And Amazon also
24
     1
25    Form 10-K, Amazon.com, Inc., https://www.sec.gov/Archives/edgar/data/1018724/000101872419000004/amzn-
     20181231x10k.htm.
26
     2
      Matt Ward, Amazon: The Company Consuming Consumers, thinkgrowth.org (Jan. 29, 2018),
27   https://thinkgrowth.org/the-big-4-part-one-amazon-the-company-that-consumes-the-world-fb4679f10708 (last
     visited July 5, 2019).
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 1   now allows manufacturers to offer devices with Alexa “built-in,” essentially allowing other
 2   speakers and devices to offer much of the functionality of an Echo or Echo Dot3 (collectively, all
 3   devices featuring Alexa integration or functionality are referred to herein as “Alexa Devices”).4
 4              21.     As of October 2018, Amazon had sold approximately 47 million Echo devices.5
 5   In January 2019, Amazon reported that over 100 million total devices had been sold with Alexa
 6   pre-installed.6
 7              22.     In the years since the Echo launched, Amazon Lab126 has continued to develop
 8   Alexa software updates, and has played an integral role in the development of new Alexa
 9   Devices.7
10              23.     Alexa is a natural-language processing system. Alexa “listens” to people’s verbal
11   communications and responds to those communications in a simulated human voice. People
12   most frequently interact with Alexa in their homes.
13              24.     Using Alexa on an Alexa Device, whether an Amazon device such as an Echo, or
14   a third-party device like a Sonos One speaker, is relatively simple. Once an individual has an
15   Alexa Device, the person needs two more things: a WiFi Internet connection, and the Alexa
16   mobile application (the “Alexa App”) installed on his or her smartphone or tablet.
17
     3
18     Alistair Charleton, Which Cars Have Amazon Alexa Integration?, Gearbrain (April 29, 2019),
     https://www.gearbrain.com/which-cars-have-amazon-alexa-2525958778.html (last visited July 5, 2019); James
19   Stables, The Best Amazon Alexa Built-In Speakers, The Ambient (Apr. 8, 2019), https://www.the-
     ambient.com/guides/best-alexa-built-in-speakers-1196 (last visited July 5, 2019); Dana Kerr and Ben Rubin, Alexa
20   is Coming to Sony Smart TVs, CNET (Sept. 20, 2018, 11:27 a.m. EST), https://www.cnet.com/news/alexa-is-
     coming-to-tvs-well-at-least-sony-smart-tvs/ (last visited July 5, 2019); Jonathan Vanian, Amazon Alexa is Now
21   Available on HP, Acer, and Asus Computers, Fortune (Jan. 8, 2018), http://fortune.com/2018/01/08/amazon-alexa-
     hp-acer-asus/ (last visited July 5, 2019).
22
     4
      For purposes of this Complaint, the term “Alexa Devices” specifically excludes the Amazon Echo Dot Kids
23   Edition.
     5
24    Brian Dumaine, It Might Get Loud: Inside Silicon Valley’s Battle to Own Voice Tech, Fortune (Oct. 24, 2018),
     http://fortune.com/longform/amazon-google-apple-voice-recognition/ (last visited July 5, 2019).
25
     6
      Lucase Matney, More Than 100 Million Alexa Devices Have Been Sold, Tech Crunch (Jan. 4, 2019)
26   https://techcrunch.com/2019/01/04/more-than-100-million-alexa-devices-have-been-sold/ (last visited July 5, 2019).
     7
27      Ry Crist, Behind the scenes at Alexa’s laboratory, CNet (Apr. 23, 2018), https://www.cnet.com/news/behind-the-
     scenes-at-amazon-alexa-laboratory-lab126/ (last visited July 5, 2019).
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         FIRST AM. CLASS ACTION COMPL.                                QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1              25.     To use the Alexa App, the individual must have an account with Amazon. The
 2   individual must then follow the set-up process on the Alexa Device, which eventually includes
 3   pairing the Alexa Device with the Alexa App. For third-party Alexa Devices, the device itself
 4   will function even without being paired to the Alexa App, but the Alexa functionality will be
 5   disabled.
 6              26.     Once the individual has paired the Alexa Device to the Alexa App, the Alexa
 7   Device is ready for use by anyone, including people who have not set up the Alexa App or
 8   consented to being recorded.
 9              27.     Alexa Devices are designed to record and respond to communications
10   immediately after an individual says a wake word (typically “Alexa” or “Echo”).8 Alexa
11   Devices accomplish this by storing a second or two of audio in short-term, random-access
12   memory (RAM), analyzing that temporary audio recording for the presence of a wake word, and
13   then overwriting it if the wake word is not recognized. As a result, no permanent recording is
14   supposed to be made if the wake word is not recognized.9
15              28.     If the wake word is recognized, the Alexa Device records the ensuing
16   communication and—unlike some other smart devices—transmits the recording to Amazon’s
17   servers for interpretation and processing before receiving the relevant data back in response.
18              29.     Once Alexa has responded to a recording sent by an Alexa Device, Amazon
19   indefinitely stores a copy of that recording on its own servers for later use and analysis.
20              30.     Amazon uses machine learning to leverage the massive amount of data collected
21   by Alexa Devices—including these permanent voice recordings—to constantly refine the natural
22   language understanding underlying Alexa’s functionality. Many recordings are individually
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     8
25    Matt Day, Giles Turner, and Natalia Drozdiak, Amazon Workers Are Listening to What You Tell Alexa, Bloomberg
     (Apr. 10, 2019, 5:34 p.m. CDT), https://www.bloomberg.com/news/articles/2019-04-10/is-anyone-listening-to-you-
26   on-alexa-a-global-team-reviews-audio (last visited July 5, 2019).
     9
27     Recent news reports, however, have revealed that Alexa devices regularly “inadvertently” record conversations
     without prompting by a wake word. See id.
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         FIRST AM. CLASS ACTION COMPL.                                QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1   reviewed by Amazon employees and part-time contractors in locations as far flung as Costa
 2   Rica, India, and Romania.10
 3               31.   However, Amazon need not permanently store the audio recordings in order for
 4   Alexa Devices to function. Although it would not be as cost-effective or commercially
 5   advantageous to Amazon, Alexa Devices could process audio interactions locally on the device
 6   and send only a digital query, rather than a voice recording, to Amazon’s servers. Indeed,
 7   Amazon developed a “Local Voice Control” feature for Alexa Devices that allows individuals
 8   “to fulfill a limited set of requests on select [Alexa] devices when the device is not connected to
 9   the internet, such as requests to control supported lights, plugs, and switches.”11
10               32.   Amazon could also upload audio recordings to short-term memory in the cloud
11   and immediately overwrite those recordings after processing, much like Alexa constantly
12   overwrites the audio it captures prior to a user saying a wake word. If Amazon did that, it would
13   never possess a permanent recording of any user’s communications.
14               33.   Many similar “smart speaker” devices are less intrusive than Amazon’s Alexa
15   Devices. Apple’s natural-language processing system, “Siri,” records communications in a
16   similar manner to Alexa, and sends those recordings to Apple’s servers.12 However, Apple
17   stores those recordings in an identifiable form for only a short period of time, and then deletes
18   the recordings entirely.13 Likewise, Mercedes has developed voice recognition technology that
19   allows drivers to ask their car for directions, and that offers substantial functionality even when
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          Id.
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     11
       Alexa and Alexa Device FAQs, Amazon,
24   https://www.amazon.com/gp/help/customer/display.html?nodeId=201602230 (last visited July 5, 2019).

     12
25      Lisa Eadicicco, Amazon Workers Reportedly Listen to What You Tell Alexa – Here’s How Apple and Google
     Handle What You Say to Their Voice Assistants, Business Insider (Apr. 15, 2019, 10:39 a.m. EST),
26   https://www.businessinsider.com/how-amazon-apple-google-handle-alexa-siri-voice-data-2019-4 (last visited July
     5, 2019).
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     13
          Id.
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      FIRST AM. CLASS ACTION COMPL.                                 QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1   the vehicle lacks an Internet connection (and, therefore, the vehicle cannot transmit a
 2   recording).14
 3            34.      Amazon has strong commercial incentives to collect as many Alexa recordings as
 4   possible. From the outset, Amazon has been a company built on the relentless acquisition of
 5   consumer behavioral data, whether through its ubiquitous AWS offerings, its ever-expanding
 6   online storefront, its entertainment platforms, and now the Alexa Devices it uses as its ears in
 7   every home.
 8            35.      The collection of Alexa Device recordings is a natural extension of Amazon’s
 9   modus operandi: collect as much consumer data as possible through any means possible,
10   streamline the process so that consumers cannot or will not stop the collection, and use
11   Amazon’s massive size to leverage that data more effectively than any of its competitors.
12            36.      Simply put, the more data Amazon collects, the more use it has for each
13   incremental data point in its possession.
14            37.      Amazon’s decision to make Alexa integration available to third-party product
15   manufacturers at no cost is entirely consistent with this scheme. While Amazon might have
16   charged some companies a licensing fee for Alexa integration (which its partners would then be
17   able to pass on to consumers who value the extra functionality), it offers that integration free of
18   charge in order to facilitate the rapid adoption of Alexa Devices, the ubiquitous use of Alexa,
19   and the resulting widespread collection of voice-recordings of millions of people.
20                           Alexa Devices Record Children Without Their Consent
21            38.      Alexa Devices respond to any individual who says the wake word. Alexa
22   Devices thus record communications involving individuals who did not purchase the device or
23   install the Alexa App.
24            39.      But Alexa has the ability to identify different users based on their voiceprint.
25   Through this functionality, Alexa could determine whether or not the person speaking to it has
26
     14
       Matt Robinson, In-Car Voice Control Still Isn’t Perfect, But I’m Warming To It, Car Throttle (March 2019),
27   https://www.carthrottle.com/post/in-car-voice-control-still-isnt-perfect-but-im-warming-to-it/ (last visited July 5,
     2019).
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      FIRST AM. CLASS ACTION COMPL.                                      QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1   previously registered as a user and agreed to be recorded. When Alexa detects that a user has
 2   not agreed to be recorded, it could inform the user that Amazon will make and keep persistent
 3   recordings of the user’s voice as a condition of use. Alexa could ask the new user to agree to
 4   that recording. Or it could deactivate Amazon’s permanent recording functionality for such
 5   users. But Alexa does not do this.
 6           40.     At no point does Amazon warn unregistered users that it is creating persistent
 7   voice recordings of their Alexa interactions, let alone obtain their consent to do so.
 8           41.     When children say a wake word to an Alexa Device, the device records and
 9   transmits the children’s communications in the same manner that it handles adults’
10   communications. Neither the children nor their parents have consented to the children’s
11   interactions being permanently recorded.
12                            Facts Specific to Plaintiffs B.F. and A.A. (Florida)
13           42.     Plaintiffs B.F. and A.A., and their parent Joey Fields, are citizens of the State of
14   Florida. Plaintiffs are seven and fifteen years old.
15           43.     B.F. and A.A.’s home contained an Amazon Echo from April 2017 to the present
16   and an Amazon Echo Dot from June 2017 to the present.
17           44.     B.F. and A.A. did not purchase or set up the Alexa Devices, nor did they
18   download the Alexa App.
19           45.     Although B.F. and A.A. were not registered Alexa users, they directly interacted
20   with an Alexa Device on several occasions. For instance, they regularly used it to play music,
21   tell jokes, and play games. On those occasions, Amazon recorded B.F.’s and A.A.’s
22   communications and stored those recordings on its servers.
23           46.     B.F. and A.A. were unaware that when they spoke a wake word, an Alexa Device
24   would record and store the ensuing private communications.
25           47.     Because B.F. and A.A. were not registered Alexa users, they never agreed to
26   allow their communications to be recorded. B.F. and A.A.’s guardian likewise never agreed to
27

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      FIRST AM. CLASS ACTION COMPL.                            QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1   allow Amazon to record B.F.’s and A.A.’s communications. Amazon recorded B.F.’s and
 2   A.A.’s private communications without their consent, and without the consent of their guardian.
 3                     Facts Specific to Plaintiffs W.B., A.L., K.S., and A.S. (Florida)
 4           48.     Plaintiffs W.B., A.L., K.S., and A.S., and their guardian Mistie Burris, are
 5   citizens of the State of Florida. Plaintiffs are three, ten, fourteen, and seventeen years old.
 6           49.     W.B., A.L., K.S., and A.S.’s home contains two Amazon Fire Sticks, which were
 7   purchased in June 2017 and May 2018; four Amazon Fire Tablets, two of which were purchased
 8   in November 2015 and two of which were purchased in July 2016; and four Amazon Echo Dots,
 9   one purchased in November 2017, two purchased in July 2018, and one purchased in November
10   2018.
11           50.     W.B., A.L., K.S., and A.S. did not purchase or set up the Alexa Devices, nor did
12   they download the Alexa App.
13           51.     Although W.B., A.L., K.S., and A.S. were not registered Alexa users, they
14   directly interacted with the Alexa Devices on various occasions. For instance, W.B., A.L., K.S.,
15   and A.S. use the Alexa Devices to control their TV, play music, answer questions and trivia, and
16   play games. On those occasions, Amazon recorded W.B.’s, A.L.’s, K.S.’s, and A.S.’s
17   communications and stored those recordings on its servers.
18           52.     W.B., A.L., K.S., and A.S. were unaware that when they spoke a wake word, an
19   Alexa Device would record and store the ensuing private communications.
20           53.     Because W.B., A.L., K.S., and A.S. were not registered Alexa users, they never
21   agreed to allow their communications to be recorded. W.B., A.L., K.S., and A.S.’s guardian
22   likewise never agreed to allow Amazon to record W.B.’s, A.L.’s, K.S.’s, and A.S.’s
23   communications. Amazon recorded W.B.’s, A.L.’s, K.S.’s, and A.S.’s private communications
24   without their consent, and without the consent of their guardian.
25                                    Facts Specific to Plaintiff C.L. (Illinois)
26           54.     Plaintiff C.L. and her parent Melissa Lock are citizens of the State of Illinois.
27   Plaintiff C.L. is ten years old.
28
      FIRST AM. CLASS ACTION COMPL.                               QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1           55.     C.L.’s home contained an Amazon Echo Dot from December 2016 to the present.
 2           56.     C.L. did not purchase or set up the Alexa Device, nor did she download the Alexa
 3   App.
 4           57.     Although C.L. was not a registered Alexa user, she directly interacted with an
 5   Alexa Device on several occasions. For instance, she regularly used it to find information, play
 6   music, and tell jokes. On those occasions, Amazon recorded C.L.’s communications and stored
 7   those recordings on its servers.
 8           58.     C.L. was unaware that when she spoke a wake word, an Alexa Device would
 9   record and store the ensuing private communications.
10           59.     Because C.L. was not a registered Alexa user, she never agreed to allow her
11   communications to be recorded. C.L.’s guardian likewise never agreed to allow Amazon to
12   record C.L.’s communications. Amazon recorded C.L.’s private communications without her
13   consent, and without the consent of her guardian.
14                           Facts Specific to Plaintiffs J.B. and L.B. (Maryland)
15           60.     Plaintiffs J.B. and L.B., and their parent Doug Boswell, are citizens of the State
16   of Maryland. Plaintiffs are six and eight years old.
17           61.     J.B. and L.B.’s home contained an Amazon Echo since 2015, an Amazon Echo
18   Dot since 2017, and two Amazon Fire Sticks from 2018 to the present.
19           62.     J.B. and L.B. did not purchase or set up the Alexa Devices, nor did they
20   download the Alexa App.
21           63.     Although J.B. and L.B. were not registered Alexa users, they directly interacted
22   with an Alexa Device on several occasions. For instance, they have regularly used the Amazon
23   Echo and Amazon Echo Dot to play music, tell jokes, and answer trivia questions, and they
24   have, on occasion, used the Alexa Fire Sticks to control the television. On those occasions,
25   Amazon recorded J.B.’s and L.B.’s communications and stored those recordings on its servers.
26           64.     J.B. and L.B. were unaware that when they spoke a wake word, an Alexa Device
27   would record and store the ensuing private communications.
28
      FIRST AM. CLASS ACTION COMPL.                           QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 12                                   600 UNIVERSITY STREET SUITE 2800
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 1           65.     Because J.B. and L.B. were not registered Alexa users, they never agreed to allow
 2   their communications to be recorded. J.B. and L.B.’s guardian likewise never agreed to allow
 3   Amazon to record J.B.’s and L.B.’s communications. Amazon recorded J.B.’s and L.B.’s
 4   private communications without their consent, and without the consent of their guardian.
 5                              Facts Specific to Plaintiff C.O. (Massachusetts)
 6           66.     Plaintiff C.O. and her parent Alison Hall-O’Neil are citizens of the
 7   Commonwealth of Massachusetts. Plaintiff is ten years old.
 8           67.     C.O.’s home contained an Amazon Echo Dot from August 2018 to the present.
 9           68.     C.O. did not purchase or set up the Echo Dot, nor did she download the Alexa
10   App.
11           69.     Although C.O. was not a registered Alexa user, she directly interacted with an
12   Alexa Device on several occasions. For instance, she regularly used it to play music, tell jokes,
13   and answer questions. On those occasions, Amazon recorded C.O.’s communications and stored
14   those recordings on its servers.
15           70.     C.O. was unaware that when she spoke a wake word, an Alexa Device would
16   record and store the ensuing private communications.
17           71.     Because C.O. was not a registered Alexa user, she never agreed to allow her
18   communications to be recorded. C.O’s guardian likewise never agreed to allow Amazon to
19   record C.O.’s communications. Amazon recorded C.O.’s private communications without her
20   consent, and without the consent of her guardian.
21                        Facts Specific to Plaintiffs W.R. and L.R. (Massachusetts)
22           72.     Plaintiffs W.R. and L.R., and their parent William Rowe, are citizens of the
23   Commonwealth of Massachusetts. Plaintiffs are eleven and nine years old.
24           73.     W.R. and L.R.’s home contains two Amazon Echo Dots, which were purchased
25   in December 2016 and November 2017; two Amazon Kindle Fires, which were purchased in
26   December 2017 and December 2018; an Amazon Echo; and an Amazon Fire Stick.
27

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 1           74.     W.R. and L.R. did not purchase or set up the Alexa Devices, nor did they
 2   download the Alexa App.
 3           75.     Although W.R. and L.R. were not registered Alexa users, they directly interacted
 4   with the Alexa Devices on several occasions. For instance, they use Alexa to play music, answer
 5   questions, and set timers. On those occasions, Amazon recorded W.R.’s and L.R.’s
 6   communications and stored those recordings on its servers.
 7           76.     W.R. and L.R. were unaware that when they spoke a wake word, an Alexa
 8   Device would record and store the ensuing private communications.
 9           77.     Because W.R. and L.R. were not registered Alexa users, they never agreed to
10   allow their communications to be recorded. W.R. and L.R.’s guardian likewise never agreed to
11   allow Amazon to record W.R.’s and L.R.’s communications. Amazon recorded W.R.’s and
12   L.R.’s private communications without their consent, and without the consent of their guardian.
13                                    Facts Specific to Plaintiff E.J. (Michigan)
14           78.     Plaintiff E.J. and her parent Corey Woodhouse are citizens of the State of
15   Michigan. Plaintiff is eight years old.
16           79.     E.J.’s home contained an Amazon Echo from June 2, 2019 to the present.
17           80.     E.J. did not purchase or set up the Alexa Device, nor did she download the Alexa
18   App.
19           81.     Although E.J. was not a registered Alexa user, she directly interacted with an
20   Alexa Device on several occasions. For instance, she used it primarily to play music and check
21   the weather. On those occasions, Amazon recorded E.J.’s communications and stored those
22   recordings on its servers.
23           82.     E.J. was unaware that when she spoke a wake word, an Alexa Device would
24   record and store the ensuing private communications.
25           83.     Because E.J. was not a registered Alexa user, she never agreed to allow her
26   communications to be recorded. E.J.’s guardian likewise never agreed to allow Amazon to
27

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 1   record E.J.’s communications. Amazon recorded E.J.’s private communications without her
 2   consent, and without the consent of her guardian.
 3                           Facts Specific to Plaintiff S.M. and C.M. (Michigan)
 4           84.     Plaintiffs S.M. and C.M., and their parent Matt McLaughlin, are citizens of the
 5   State of Michigan. Plaintiffs are eleven and thirteen years old.
 6           85.     S.M. and C.M.’s home contains an Amazon Echo, which was purchased in March
 7   2019.
 8           86.     S.M. and C.M. did not purchase or set up the Alexa Device, nor did they
 9   download the Alexa App.
10           87.     Although S.M. and C.M. were not registered Alexa users, they directly interacted
11   with the Alexa Device on several occasions. For instance, they used it primarily to play music
12   and check the weather. On those occasions, Amazon recorded S.M.’s and C.M.’s
13   communications and stored those recordings on its servers.
14           88.     S.M. and C.M. were unaware that when they spoke a wake word, an Alexa
15   Device would record and store the ensuing private communications.
16           89.     Because S.M. and C.M. were not registered Alexa users, they never agreed to
17   allow their communications to be recorded. S.M. and C.M.’s guardian likewise never agreed to
18   allow Amazon to record S.M.’s and C.M.’s communications. Amazon recorded S.M.’s and
19   C.M.’s private communications without their consent, and without the consent of their guardian.
20                                    Facts Specific to Plaintiff Z.S. (Michigan)
21           90.     Plaintiff Z.S., and his parent Stephanie Starling, are citizens of the State of
22   Michigan. Plaintiff Z.S. is ten years old.
23           91.     Z.S.’s home contains two Amazon Echo Dots, which were purchased in Spring
24   2018 and February 2019.
25           92.     Z.S. did not purchase or set up the Echo Dots, nor did he download the Alexa
26   App.
27

28
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 1           93.      Although Z.S. was not a registered Alexa user, he directly interacted with an
 2   Alexa Device on several occasions. For instance, Z.S. used the Echo Dots to check the weather,
 3   tell jokes, and play games. On those occasions, Amazon recorded Z.S.’s communications and
 4   stored those recordings on its servers.
 5           94.      Z.S. was unaware that when he spoke a wake word, an Alexa Device would
 6   record and store the ensuing private communications.
 7           95.      Because Z.S. was not a registered Alexa user, he never agreed to allow his
 8   communications to be recorded. Z.S.’s guardian likewise never agreed to allow Amazon to
 9   record Z.S.’s communications. Amazon recorded Z.S.’s private communications without his
10   consent, and without the consent of his guardian.
11                 Facts Specific to Plaintiffs O.B., S.B., F.B., and E.B. (New Hampshire)
12           96.      Plaintiffs O.B., S.B., F.B., and E.B., and their parent Maria Prunier-Brown, are
13   citizens of the State of New Hampshire. Plaintiffs are eleven, thirteen, fourteen, and sixteen
14   years old.
15           97.      O.B., S.B., F.B., and E.B.’s home contained an Amazon Echo Dot from
16   December 2018 to the present.
17           98.      O.B., S.B., F.B., and E.B. did not purchase or set up the Alexa Devices, nor did
18   they download the Alexa App.
19           99.      Although O.B., S.B., F.B., and E.B. were not registered Alexa users, they directly
20   interacted with an Alexa Device on several occasions. For instance, they regularly used it to
21   play music, check the weather, and help with homework. On those occasions, Amazon recorded
22   E.B.’s, F.B.’s, S.B.’s, and O.B.’s communications and stored those recordings on its servers.
23           100.     O.B., S.B., F.B., and E.B. were unaware that when they spoke a wake word, an
24   Alexa Device would record and store the ensuing private communications.
25           101.     Because O.B., S.B., F.B., and E.B. were not registered Alexa users, they never
26   agreed to allow her communications to be recorded. O.B., S.B., F.B., and E.B. ’s guardian
27   likewise never agreed to allow Amazon to record O.B.’s, S.B.’s, F.B.’s, and E.B.’s
28
      FIRST AM. CLASS ACTION COMPL.                           QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 16                                   600 UNIVERSITY STREET SUITE 2800
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 1   communications. Amazon recorded O.B.’s, S.B.’s, F.B.’s, and E.B.’s private communications
 2   without their consent, and without the consent of their guardian.
 3                               Facts Specific to Plaintiff R.B. (Pennsylvania)
 4           102.    Plaintiff R.B. and her parent Angela Brine are citizens of the Commonwealth of
 5   Pennsylvania. Plaintiff R.B. is four years old.
 6           103.    R.B.’s home contained an Amazon Echo Dot from August 2018 to the present.
 7           104.    R.B. did not purchase or set up the Amazon Echo Dot, nor did she download the
 8   Alexa App.
 9           105.    Although R.B. was not a registered Alexa user, she directly interacted with an
10   Alexa Device on several occasions. For instance, she regularly used the Echo Dot to play music
11   and answer questions. On those occasions, Amazon recorded R.B.’s communications and stored
12   those recordings on its servers.
13           106.    R.B. was unaware that when she spoke a wake word, an Alexa Device would
14   record and store the ensuing private communications.
15           107.    Because R.B. was not a registered Alexa user, she never agreed to allow her
16   communications to be recorded. R.B.’s guardian likewise never agreed to allow Amazon to
17   record R.B.’s communications. Amazon recorded R.B.’s private communications without her
18   consent, and without the consent of her guardian.
19                                Facts Specific to Plaintiff N.S. (Washington)
20           108.    Plaintiff N.S. and his parent Erin Shunn are citizens of the State of Washington.
21   Plaintiff is fourteen years old.
22           109.    N.S.’s home has contained an Amazon Echo Dot since June 2018.
23           110.    N.S. did not purchase or set up the Amazon Echo Dot, nor did he download the
24   Alexa App.
25           111.    Although N.S. was not a registered Alexa user, he directly interacted with an
26   Alexa Device on several occasions. For instance, he regularly used it to ask it the weather and
27

28
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 1   for help with math questions. On those occasions, Amazon recorded N.S.’s communications and
 2   stored those recordings on its servers.
 3           112.    N.S. was unaware that when he spoke a wake word, an Alexa Device would
 4   record and store the ensuing private communications.
 5           113.    Because N.S. was not a registered Alexa user, he never agreed to allow his
 6   communications to be recorded. N.S.’s guardian likewise never agreed to allow Amazon to
 7   record N.S.’s communications. Amazon recorded N.S.’s private communications without his
 8   consent, and without the consent of his guardian.
 9                                    CLASS ACTION ALLEGATIONS
10           114.    Plaintiffs B.F. and A.A., by and through their guardian Joey Fields, and Plaintiffs
11   W.B., A.L., K.S., and A.S., by and through their guardian Mistie Burris, bring this action
12   pursuant to Federal Rule of Civil Procedure 23(b)(3) individually and on behalf of the following
13   class of similarly situated individuals:
14
                     Florida Class: All individuals in the State of Florida who used
15                   Alexa on a household Alexa Device while they were minors, but
                     who have not downloaded and installed the Alexa App.
16

17           115.    Plaintiff C.L., by and through her guardian Melissa Lock, brings this action

18   pursuant to Federal Rule of Civil Procedure 23(b)(3) individually and on behalf of the following

19   class of similarly situated individuals:

20                   Illinois Class: All individuals in the State of Illinois who used
                     Alexa on a household Alexa Device while they were minors, but
21
                     who have not downloaded and installed the Alexa App.
22
             116.    Plaintiffs J.B. and L.B., by and through their guardian Doug Boswell, bring this
23
     action pursuant to Federal Rule of Civil Procedure 23(b)(3) individually and on behalf of a Class
24
     of the following class of similarly situated individuals:
25

26                   Maryland Class: All individuals in the State of Maryland who
                     used Alexa on a household Alexa Device while they were minors,
27                   but who have not downloaded and installed the Alexa App.
28
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 1           117.    Plaintiff C.O., by and through her guardian Alison Hall-O’Neil, and Plaintiffs
 2   W.R. and L.R., by and through their guardian William Rowe, bring this action pursuant to
 3   Federal Rule of Civil Procedure 23(b)(3) individually and on behalf of the following Class of
 4   similarly situated individuals:
 5
                     Massachusetts Class: All individuals in the Commonwealth of
 6                   Massachusetts who used Alexa on a household Alexa Device
                     while they were minors, but who have not downloaded and
 7                   installed the Alexa App.
 8
             118.    Plaintiff E.J., by and through her guardian Corey Woodhouse; Plaintiffs S.M. and
 9
     C.M., by and through their guardian Matt McLaughlin; and Plaintiff Z.S., by and through his
10
     guardian Stephanie Starling, bring this action pursuant to Federal Rule of Civil Procedure
11
     23(b)(3) individually and on behalf of the following class of similarly situated individuals:
12

13
                     Michigan Class: All individuals in the State of Michigan who
                     used Alexa on a household Alexa Device while they were minors,
14                   but who have not downloaded and installed the Alexa App.
15
             119.    Plaintiffs E.B., F.B., S.B., and O.B, by and through their guardian Maria Prunier-
16
     Brown, bring this action pursuant to Federal Rule of Civil Procedure 23(b)(3) individually and
17
     on behalf of the following class of similarly situated individuals:
18
                     New Hampshire Class: All individuals in the State of New
19
                     Hampshire who used Alexa on a household Alexa Device while
20                   they were minors, but who have not downloaded and installed the
                     Alexa App.
21

22           120.    Plaintiff R.B., by and through her guardian Angela Brine, brings this action
23   pursuant to Federal Rule of Civil Procedure 23(b)(3) individually and on behalf of the following
24   class of similarly situated individuals:
25                   Pennsylvania Class: All individuals in the Commonwealth of
                     Pennsylvania who used Alexa on a household Alexa Device while
26                   they were minors, but who have not downloaded and installed the
27                   Alexa App.

28
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 1           121.    Plaintiff N.S., by and through his guardian Erin Shunn, brings this action
 2   pursuant to Federal Rule of Civil Procedure 23(b)(3) individually and on behalf of the following
 3   class of similarly situated individuals:
 4                   Washington Class: All individuals in the State of Washington
                     whose communications who used Alexa on a household Alexa
 5                   Device while they were minors, but who have not downloaded and
 6
                     installed the Alexa App.

 7           122.    Excluded from each Class are: (1) any Judge or Magistrate presiding over this

 8   action and any members of their families; (2) Defendants, Defendants’ subsidiaries, parents,

 9   successors, predecessors, and any entity in which Defendants or their parents have a controlling

10   interest and their current or former employees, officers, and directors; (3) persons who properly

11   execute and file a timely request for exclusion from the Classes; (4) persons whose claims in this

12   matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiffs’ counsel

13   and Defendants’ counsel; and (6) the legal representatives, successors, and assigns of any such

14   excluded persons.

15           123.    Numerosity: The exact number of members of the Classes is unknown and

16   unavailable to Plaintiff at this time, but individual joinder in this case is impracticable. The

17   Classes likely consist of thousands of individuals, and their members can be identified through

18   Defendants’ records.

19           124.    Predominant Common Questions: The Classes’ claims present common

20   questions of law and fact, and those questions predominate over any questions that may affect

21   individual members of the Classes. Common questions for the Classes include, but are not

22   limited to, the following:

23               a. Whether Alexa Devices make permanent voice recordings of children who

24                   interact with them.

25               b. Whether children who use Alexa Devices in their home have an objectively

26                   reasonable expectation of confidentiality.

27

28
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 1                c. Whether Amazon fails to obtain consent to record children who are not registered
 2                   users of Alexa Devices.
 3           125.    Typicality: Plaintiffs’ claims are typical of the claims of the other members of
 4   the proposed Classes. Plaintiffs and members of the Classes suffered invasions of privacy as a
 5   result of Defendants’ uniform wrongful conduct.
 6           126.    Adequate Representation: Plaintiffs have and will continue to fairly and
 7   adequately represent and protect the interests of the Classes, and they have retained counsel
 8   competent and experienced in complex litigation and class actions. Plaintiffs have no interests
 9   antagonistic to those of the Classes, and Defendants have no defenses unique to Plaintiffs.
10   Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf of the
11   members of the Classes, and they have the resources to do so. Neither Plaintiffs nor their
12   counsel have any interest adverse to those of the other members of the Classes.
13           127.    Superiority: This class action is appropriate for certification because class
14   proceedings are superior to other available methods for the fair and efficient adjudication of this
15   controversy and joinder of all members of the Classes is impracticable. This proposed class
16   action presents fewer management difficulties than individual litigation, and provides the
17   benefits of single adjudication, economies of scale, and comprehensive supervision by a single
18   court. Class treatment will create economies of time, effort, and expense and promote uniform of
19   decision-making.
20           128.    Plaintiffs reserve the right to revise the foregoing class allegations and definitions
21   based on facts learned and legal developments following additional investigation, discovery, or
22   otherwise.
23                                    FIRST CAUSE OF ACTION
                     Violation of the Florida Wiretap Statute, Fla. Stat. § 934.03
24
            (On Behalf of Plaintiffs B.F., A.A., W.B., A.L., K.S., A.S. and the Florida Class)
25
             129.    Plaintiffs B.F., A.A., W.B., A.L., K.S., and A.S. and the Florida Class members
26
     (collectively, the “Florida Plaintiffs”) incorporate by reference the foregoing allegations as if
27
     fully set forth herein.
28
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 1           130.    The Florida Plaintiffs used Alexa Devices within their families’ homes.
 2           131.    When the Florida Plaintiffs used the Alexa Devices, Amazon created a recording
 3   of their device interactions, transmitted those recording to Amazon’s cloud servers, and retained
 4   copies of those recordings indefinitely.
 5           132.    Amazon did not warn or otherwise notify the Florida Plaintiffs that it would
 6   create persistent recordings of their Alexa interactions.
 7           133.    The Florida Plaintiffs did not expect, and had no reason to expect, that Amazon
 8   would create persistent recordings of their Alexa interactions.
 9           134.    The Florida Plaintiffs reasonably expected that their Alexa interactions would
10   remain private.
11           135.    The Florida Plaintiffs never provided Amazon with consent to record their Alexa
12   interactions, nor did Amazon even attempt to seek such consent. The Florida Plaintiffs’
13   guardians likewise never consented to Amazon recording their children’s Alexa interactions.
14           136.    Amazon created the recordings of the Florida Plaintiffs intentionally, as Amazon
15   has publicly admitted that Alexa Devices are programmed to record every Alexa interaction.
16           137.    By creating persistent recordings of the Florida Plaintiffs’ Alexa interactions,
17   Amazon intentionally intercepted and used oral communications without the consent of all
18   parties to those communications, in violation of Fla. Stat. § 934.03.
19           138.    Amazon’s intentional and unlawful recording violated the Florida Plaintiffs’ right
20   to privacy in their confidential communications, as protected by Fla. Stat. § 934.03.
21           139.    Amazon is able, and the Court should require it, to destroy the recordings of the
22   Florida Plaintiffs’ interactions with Alexa Devices, and to implement functionality sufficient to
23   prevent unauthorized recordings in the future.
24           140.    Amazon’s intentional and unlawful recording caused the Florida Plaintiffs injury
25   to their dignity, well-being, and security.
26           141.    Plaintiffs B.F., A.A., W.B., A.L., K.S., and A.S., individually and on behalf of the
27   Florida Class members, seek: (1) an injunction requiring Amazon to obtain consent prior to
28
      FIRST AM. CLASS ACTION COMPL.                              QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1   recording minors’ Alexa interactions and to delete those recordings already made, and to
 2   implement functionality sufficient to prevent unauthorized recordings in the future; (2) damages
 3   equal to $100 per day or $1,000, whichever is greater, under Fla. Stat. § 934.10; (3) punitive
 4   damages; and (4) costs and reasonable attorneys’ fees under Fla. Stat. § 934.10.
 5                                    SECOND CAUSE OF ACTION
                         Violation of the Illinois Wiretap Statute, 720 ILCS 5/14-2
 6                          (On Behalf of Plaintiffs C.L. and the Illinois Class)
 7
             142.    Plaintiffs C.L. and the Illinois Class members (collectively, “the Illinois
 8
     Plaintiffs”) incorporate by reference the foregoing allegations as if fully set forth herein.
 9
             143.    The Illinois Plaintiffs used Alexa Devices within their families’ homes.
10
             144.    When the Illinois Plaintiffs used the Alexa Devices, Amazon created a recording
11
     of their device interactions, transmitted those recording to Amazon’s cloud servers, and retained
12
     copies of those recordings indefinitely.
13
             145.    Amazon did not warn or otherwise notify the Illinois Plaintiffs that it would
14
     create persistent recordings of their Alexa interactions.
15
             146.    The Illinois Plaintiffs did not expect, and had no reason to expect, that Amazon
16
     would create persistent recordings of their Alexa interactions.
17
             147.    The Illinois Plaintiffs reasonably expected that their Alexa interactions would
18
     remain private.
19
             148.    The Illinois Plaintiffs never provided Amazon with consent to record their Alexa
20
     interactions, nor did Amazon even attempt to seek such consent. The Illinois Plaintiffs’
21
     guardians likewise never consented to Amazon recording their children’s Alexa interactions.
22
             149.    Amazon created the recordings of the Illinois Plaintiffs intentionally, as Amazon
23
     has publicly admitted that Alexa Devices are programmed to record every Alexa interaction.
24
             150.    By using the Alexa Devices to create persistent recordings of the Illinois
25
     Plaintiffs Alexa interactions, Amazon intentionally intercepted, recorded, transcribed and used
26
     private conversations without the consent of all parties to those communications, in violation of
27
     720 ILCS 5/14-2.
28
      FIRST AM. CLASS ACTION COMPL.                              QUINN EMANUEL URQUHART & SULLIVAN LLP
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 1             151.   Amazon’s intentional and unlawful recording violated the Illinois Plaintiffs’ right
 2   to privacy in their confidential communications, as protected by 720 ILCS 5/14-2.
 3             152.   Amazon is able, and the Court should require it, to destroy the recordings of the
 4   Illinois Plaintiffs’ interactions with Alexa Devices, and to implement functionality sufficient to
 5   prevent unauthorized recordings in the future.
 6             153.   Amazon’s intentional and unlawful recording caused the Illinois Plaintiffs injury
 7   to their dignity, well-being, and security.
 8             154.   Plaintiff C.L., individually and on behalf of the Illinois Class members, seeks: (1)
 9   an injunction requiring Amazon to obtain consent prior to recording minors’ Alexa interactions
10   and to delete those recordings already made, and to implement functionality sufficient to prevent
11   unauthorized recordings in the future; (2) nominal damages under 720 ILCS 5/14-2; (3) punitive
12   damages; and (4) costs and reasonable attorneys’ fees under 720 ILCS 5/14-6.
13                                    THIRD CAUSE OF ACTION
                Violation of the Maryland Wiretap Statute, Md. Cts. & Jud. Pro. § 10-402
14                    (On Behalf of Plaintiffs J.B. and L.B. and the Maryland Class)
15
               155.   Plaintiffs J.B., L.B., and the Maryland Class members (collectively, “the
16
     Maryland Plaintiffs”) incorporate by reference the foregoing allegations as if fully set forth
17
     herein.
18
               156.   The Maryland Plaintiffs used Alexa Devices within their families’ homes.
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               157.   When the Maryland Plaintiffs used the Alexa Devices, Amazon created a
20
     recording of their device interactions, transmitted those recording to Amazon’s cloud servers,
21
     and retained copies of those recordings indefinitely.
22
               158.   Amazon did not warn or otherwise notify The Maryland Plaintiffs members that
23
     it would create persistent recordings of their Alexa interactions.
24
               159.   The Maryland Plaintiffs did not expect, and had no reason to expect, that Amazon
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     would create persistent recordings of their Alexa interactions.
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               160.   The Maryland Plaintiffs reasonably expected that their Alexa interactions would
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     remain private.
28
      FIRST AM. CLASS ACTION COMPL.                            QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 24                                    600 UNIVERSITY STREET SUITE 2800
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 1           161.    The Maryland Plaintiffs never provided Amazon with consent to record their
 2   Alexa interactions, nor did Amazon even attempt to seek such consent. The Maryland Plaintiffs’
 3   guardians likewise never consented to Amazon recording their children’s Alexa interactions.
 4           162.    Amazon created the recordings of the Maryland Plaintiffs intentionally, as
 5   Amazon has publicly admitted that Alexa Devices are programmed to record every Alexa
 6   interaction.
 7           163.    By creating persistent recordings of the Maryland Plaintiffs’ Alexa interactions,
 8   Amazon intentionally intercepted and used oral communications without the consent of all
 9   parties to those communications, in violation of Md. Cts. & Jud. Pro. § 10-402.
10           164.    Amazon’s intentional and unlawful recording violated of the Maryland Plaintiffs’
11   right to privacy in their confidential communications, as protected by Md. Cts. & Jud. Pro. § 10-
12   402.
13           165.    Amazon is able, and the Court should require it, to destroy the recordings of the
14   Maryland Plaintiffs’ interactions with Alexa Devices, and to implement functionality sufficient
15   to prevent unauthorized recordings in the future.
16           166.    Amazon’s intentional and unlawful recording caused the Maryland Plaintiffs
17   injury to their dignity, well-being, and security.
18           167.    Plaintiffs J.B. and L.B., individually and on behalf of the Maryland Class
19   members, seek: (1) an injunction requiring Amazon to obtain consent prior to recording minors’
20   Alexa interactions and to delete those recordings already made, and to implement functionality
21   sufficient to prevent unauthorized recordings in the future; (2) damages equal to $100 per day or
22   $1,000, whichever is greater, under Md. Cts. & Jud. Pro. § 10-410; (3) punitive damages; and (4)
23   costs and reasonable attorneys’ fees under Md. Cts. & Jud. Pro. § 10-410.
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      FIRST AM. CLASS ACTION COMPL.                           QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 25                                   600 UNIVERSITY STREET SUITE 2800
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                                   FOURTH CAUSE OF ACTION
 1
            Violation of the Massachusetts Wiretap Statute, Mass. Gen. Laws ch. 272, § 99
 2              (On Behalf of Plaintiffs C.O., L.R., W.R. and the Massachusetts Class)

 3           168.    Plaintiffs C.O., L.R., W.R., and the Massachusetts Class members (collectively
 4   “the Massachusetts Plaintiffs”) incorporate by reference the foregoing allegations as if fully set
 5   forth herein.
 6           169.    The Massachusetts Plaintiffs used Alexa Devices within their families’ homes.
 7           170.    When the Massachusetts Plaintiffs used the Alexa Devices, Amazon created a
 8   recording of their device interactions, transmitted those recording to Amazon’s cloud servers,
 9   and retained copies of those recordings indefinitely.
10           171.    Amazon did not warn or otherwise notify the Massachusetts Plaintiffs that
11   Amazon would create persistent recordings of their Alexa interactions.
12           172.    The Massachusetts Plaintiffs did not expect, and had no reason to expect, that
13   Amazon would create persistent recordings of their Alexa interactions.
14           173.    The Massachusetts Plaintiffs reasonably expected that their Alexa interactions
15   would remain private.
16           174.    The Massachusetts Plaintiffs never provided Amazon with consent to record their
17   Alexa interactions, nor did Amazon even attempt to seek such consent. The Massachusetts
18   Plaintiffs’ guardians likewise never consented to Amazon recording their children’s Alexa
19   interactions.
20           175.    Amazon created the recordings of the Massachusetts Plaintiffs intentionally, as
21   Amazon has publicly admitted that Alexa Devices are programmed to record every Alexa
22   interaction.
23           176.    By creating persistent recordings of the Massachusetts Plaintiffs’ Alexa
24   interactions, Amazon willfully intercepted and used oral communications without the consent of
25   all parties to those communications, in violation of Mass. Gen. Laws ch. 272, § 99.
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 1             177.   Amazon’s intentional and unlawful recording violated the Massachusetts
 2   Plaintiffs’ right to privacy in their confidential communications, as protected by Mass. Gen.
 3   Laws ch. 272, § 99.
 4             178.   Amazon is able, and the Court should require it, to destroy the recordings of
 5   violated the Massachusetts Plaintiffs’ interactions with Alexa Devices, and to implement
 6   functionality sufficient to prevent unauthorized recordings in the future.
 7             179.   Amazon’s intentional and unlawful recording caused the Massachusetts Plaintiffs
 8   injury to their dignity, well-being, and security.
 9             180.   Plaintiffs C.O., L.R., and W.R., individually and on behalf of the Massachusetts
10   Class members, seek: (1) an injunction requiring Amazon to obtain consent prior to recording
11   minors’ Alexa interactions and to delete those recordings already made, and to implement
12   functionality sufficient to prevent unauthorized recordings in the future; (2) damages equal to
13   $100 per day or $1,000, whichever is greater, under Mass. Gen. Laws ch. 272, § 99(Q), (3)
14   punitive damages; and (4) costs and reasonable attorneys’ fees under Mass. Gen. Laws ch. 272,
15   § 99(Q)
16                                     FIFTH CAUSE OF ACTION
                       Violation of the Michigan Wiretap Statute, MCL 750.539c
17                (On Behalf of Plaintiffs E.J., S.M., C.M., Z.S., and the Michigan Class)
18
               181.   Plaintiffs E.J., S.M., C.M., Z.S., and the Michigan Class members (collectively,
19
     “the Michigan Plaintiffs”) incorporate by reference the foregoing allegations as if fully set forth
20
     herein.
21
               182.   The Michigan Plaintiffs used Alexa Devices within their families’ homes.
22
               183.   When the Michigan Plaintiffs used the Alexa Devices, Amazon created a
23
     recording of their device interactions, transmitted those recording to Amazon’s cloud servers,
24
     and retained copies of those recordings indefinitely.
25
               184.   Amazon did not warn or otherwise notify the Michigan Plaintiffs that Amazon
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     would create persistent recordings of their Alexa interactions.
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 1           185.    The Michigan Plaintiffs did not expect, and had no reason to expect, that Amazon
 2   would create persistent recordings of their Alexa interactions.
 3           186.    The Michigan Plaintiffs reasonably expected that their Alexa interactions would
 4   remain private.
 5           187.    The Michigan Plaintiffs never provided Amazon with consent to record their
 6   Alexa interactions, nor did Amazon even attempt to seek such consent. The Michigan Plaintiffs’
 7   guardians likewise never consented to Amazon recording their children’s Alexa interactions.
 8           188.    Amazon created the recordings of the Michigan Plaintiffs intentionally, as
 9   Amazon has publicly admitted that Alexa Devices are programmed to record every Alexa
10   interaction.
11           189.    By using the Alexa Devices to create persistent recordings of the Michigan
12   Plaintiffs’ Alexa interactions, Amazon intentionally eavesdropped and used oral
13   communications without the consent of all parties to those communications, in violation of MCL
14   750.539c.
15           190.    Amazon’s intentional and unlawful recording violated the Michigan Plaintiffs’
16   right to privacy in their confidential communications, as protected by MCL 750.539c.
17           191.    Amazon is able, and the Court should require it, to destroy the recordings of the
18   Michigan Plaintiffs’ interactions with Alexa Devices, and to implement functionality sufficient
19   to prevent unauthorized recordings in the future.
20           192.    Amazon’s intentional and unlawful recording caused the Michigan Plaintiffs
21   injury to their dignity, well-being, and security.
22           193.    Plaintiffs E.J., S.M., C.M., and Z.S., individually and on behalf of the Michigan
23   Class members, seek: (1) an injunction requiring Amazon to obtain consent prior to recording
24   minors’ Alexa interactions and to delete those recordings already made, and to implement
25   functionality sufficient to prevent unauthorized recordings in the future; (2) nominal damages
26   under MCL 750.539c; (3) punitive damages; and (4) costs and reasonable attorneys’ fees under
27   MCL 750.539c.
28
      FIRST AM. CLASS ACTION COMPL.                           QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 28                                   600 UNIVERSITY STREET SUITE 2800
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                                      SIXTH CAUSE OF ACTION
 1
              Violation of the New Hampshire Wiretap Statute, N.H. Rev. Stat. § 570-A:2
 2            (On Behalf of Plaintiffs E.B., F.B., S.B., O.B. and the New Hampshire Class)

 3           194.    Plaintiffs E.B., F.B., S.B., O.B., and the New Hampshire Class members
 4   (collectively, “the New Hampshire Plaintiffs”) incorporate by reference the foregoing allegations
 5   as if fully set forth herein.
 6           195.    The New Hampshire Plaintiffs used Alexa Devices within their families’ homes.
 7           196.    When the New Hampshire Plaintiffs used the Alexa Devices, Amazon created a
 8   recording of their device interactions, transmitted those recording to Amazon’s cloud servers,
 9   and retained copies of those recordings indefinitely.
10           197.    Amazon did not warn or otherwise notify the New Hampshire Plaintiffs that it
11   would create persistent recordings of their Alexa interactions.
12           198.    The New Hampshire Plaintiffs did not expect, and had no reason to expect, that
13   Amazon would create persistent recordings of their Alexa interactions.
14           199.    The New Hampshire Plaintiffs reasonably expected that their Alexa interactions
15   would remain private.
16           200.    The New Hampshire Plaintiffs never provided Amazon with consent to record
17   their Alexa interactions, nor did Amazon even attempt to seek such consent. The New
18   Hampshire Plaintiffs’ guardians likewise never consented to Amazon recording their children’s
19   Alexa interactions.
20           201.    Amazon created the recordings of the New Hampshire Plaintiffs intentionally, as
21   Amazon has publicly admitted that Alexa Devices are programmed to record every Alexa
22   interaction.
23           202.    By creating persistent recordings of the New Hampshire Plaintiffs’ Alexa
24   interactions, Amazon intentionally intercepted and used oral communications without the
25   consent of all parties to those communications, in violation of N.H. Rev. Stat. § 570-A:2.
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 1             203.   Amazon’s intentional and unlawful recording violated the New Hampshire
 2   Plaintiffs’ right to privacy in their confidential communications, as protected by N.H. Rev. Stat.
 3   § 570-A:2.
 4             204.   Amazon is able, and the Court should require it, to destroy the recordings of the
 5   New Hampshire Plaintiffs’ interactions with Alexa Devices, and to implement functionality
 6   sufficient to prevent unauthorized recordings in the future.
 7             205.   Amazon’s intentional and unlawful recording caused the New Hampshire
 8   Plaintiffs injury to their dignity, well-being, and security.
 9             206.   Plaintiffs E.B., F.B., S.B. and O.B., individually and on behalf of the New
10   Hampshire Class members, seeks: (1) an injunction requiring Amazon to obtain consent prior to
11   recording minors’ Alexa interactions and to delete those recordings already made, and to
12   implement functionality sufficient to prevent unauthorized recordings in the future; (2) damages
13   equal to $100 per day or $1,000, whichever is greater, under N.H. Rev. Stat. § 570-A:11; and (4)
14   costs and reasonable attorneys’ fees under N.H. Rev. Stat. § 570-A:11.
15                                  SEVENTH CAUSE OF ACTION
                 Violation of the Pennsylvania Wiretap Statute, 18 Pa. Cons. Stat. § 5703
16                       (On Behalf of Plaintiff R.B. and the Pennsylvania Class)
17
               207.   Plaintiff R.B. and the Pennsylvania Class members (collectively, “the
18
     Pennsylvania Plaintiffs”) incorporate by reference the foregoing allegations as if fully set forth
19
     herein.
20
               208.   The Pennsylvania Plaintiffs used Alexa Devices within their families’ homes.
21
               209.   When the Pennsylvania Plaintiffs used the Alexa Devices, Amazon created a
22
     recording of their device interactions, transmitted those recording to Amazon’s cloud servers,
23
     and retained copies of those recordings indefinitely.
24
               210.   Amazon did not warn or otherwise notify the Pennsylvania Plaintiffs that
25
     Amazon would create persistent recordings of their Alexa interactions.
26
               211.   The Pennsylvania Plaintiffs did not expect, and had no reason to expect, that
27
     Amazon would create persistent recordings of their Alexa interactions.
28
      FIRST AM. CLASS ACTION COMPL.                             QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 30                                     600 UNIVERSITY STREET SUITE 2800
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 1           212.    The Pennsylvania Plaintiffs reasonably expected that their Alexa interactions
 2   would remain private.
 3           213.    The Pennsylvania Plaintiffs never provided Amazon with consent to record their
 4   Alexa interactions, nor did Amazon even attempt to seek such consent. The Pennsylvania
 5   Plaintiffs’ guardians likewise never consented to Amazon recording their children’s Alexa
 6   interactions.
 7           214.    Amazon created the recordings of the Pennsylvania Plaintiffs intentionally, as
 8   Amazon has publicly admitted that Alexa Devices are programmed to record every Alexa
 9   interaction.
10           215.    By creating persistent recordings of the Pennsylvania Plaintiffs’ Alexa
11   interactions, Amazon intentionally intercepted and used oral communications without the
12   consent of all parties to those communications, in violation of 18 Pa. Cons. Stat. § 5703.
13           216.    Amazon’s intentional and unlawful recording violated the Pennsylvania
14   Plaintiffs’ right to privacy in their confidential communications, as protected by 18 Pa. Cons.
15   Stat. § 5703.
16           217.    Amazon is able, and the Court should require it, to destroy the recordings of the
17   Pennsylvania Plaintiffs’ interactions with Alexa Devices, and to implement functionality
18   sufficient to prevent unauthorized recordings in the future.
19           218.    Amazon’s intentional and unlawful recording caused the Pennsylvania Plaintiffs
20   injury to their dignity, well-being, and security.
21           219.    Plaintiff R.B., individually and on behalf of the Pennsylvania Class members,
22   seeks: (1) an injunction requiring Amazon to obtain consent prior to recording minors’ Alexa
23   interactions and to delete those recordings already made, and to implement functionality
24   sufficient to prevent unauthorized recordings in the future; (2) damages equal to $100 per day or
25   $1,000, whichever is greater, under 18 Pa. Cons. Stat. § 5725; (3) punitive damages; and (4)
26   costs and reasonable attorneys’ fees under 18 Pa. Cons. Stat. § 5725.
27

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      FIRST AM. CLASS ACTION COMPL.                           QUINN EMANUEL URQUHART & SULLIVAN LLP
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                                   EIGHTH CAUSE OF ACTION
 1
                Violation of the Washington Wiretap Statute, WA Rev. Code § 9.73.030
 2                      (On Behalf of Plaintiff N.S. and the Washington Class)

 3           220.    Plaintiff N.S. and the Washington Class members (collectively, “the Washington
 4   Plaintiffs”) incorporate by reference the foregoing allegations as if fully set forth herein.
 5           221.    The Washington Plaintiffs used Alexa Devices within their families’ homes.
 6           222.    When the Washington Plaintiffs used the Alexa Devices, Amazon created a
 7   recording of their device interactions, transmitted those recording to Amazon’s cloud servers,
 8   and retained copies of those recordings indefinitely.
 9           223.    Amazon did not warn or otherwise notify the Washington Plaintiffs that it would
10   create persistent recordings of their Alexa interactions.
11           224.    The Washington Plaintiffs did not expect, and had no reason to expect, that
12   Amazon would create persistent recordings of their Alexa interactions.
13           225.    The Washington Plaintiffs reasonably expected that their Alexa interactions
14   would remain private.
15           226.    The Washington Plaintiffs never provided Amazon with consent to record their
16   Alexa interactions, nor did Amazon even attempt to seek such consent. The Washington
17   Plaintiffs’ guardians likewise never consented to Amazon recording their children’s Alexa
18   interactions.
19           227.    Amazon created the recordings of the Washington Plaintiffs intentionally, as
20   Amazon has publicly admitted that Alexa Devices are programmed to record every Alexa
21   interaction.
22           228.    By creating persistent recordings of the Washington Plaintiffs’ Alexa
23   interactions, Amazon intentionally intercepted and used private oral conversations without the
24   consent of all parties to those conversations, in violation of WA Rev. Code § 9.73.030.
25           229.    Amazon’s intentional and unlawful recording violated the Washington Plaintiffs’
26   right to privacy in their confidential communications, as protected by WA Rev. Code § 9.73.030.
27

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      FIRST AM. CLASS ACTION COMPL.                              QUINN EMANUEL URQUHART & SULLIVAN LLP
      CASE NO. 2:19-CV-910 - 32                                      600 UNIVERSITY STREET SUITE 2800
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 1           230.    Amazon is able, and the Court should require it, to destroy the recordings of the
 2   Washington Plaintiffs’ interactions with Alexa Devices, and to implement functionality
 3   sufficient to prevent unauthorized recordings in the future.
 4           231.    Amazon’s intentional and unlawful recording caused the Washington Plaintiffs
 5   injury to their dignity, well-being, and security.
 6           232.    Plaintiff N.S., individually and on behalf of the Washington Class members,
 7   seeks: (1) an injunction requiring Amazon to obtain consent prior to recording minors’ Alexa
 8   interactions and to delete those recordings already made, and to implement functionality
 9   sufficient to prevent unauthorized recordings in the future; (2) damages equal to $100 per day up
10   to $1,000 under WA Rev. Code § 9.73.060; (3) punitive damages; and (4) costs and reasonable
11   attorneys’ fees under WA Rev. Code § 9.73.060.
12                                        PRAYER FOR RELIEF
13           WHEREFORE, Plaintiffs, on behalf of themselves and the proposed Classes, respectfully
14   request that the Court enter an order:
15           A.      Certifying this case as a class action on behalf of the Classes defined above,
16   appointing Plaintiffs as representatives of the Classes, and appointing their counsel as class
17   counsel;
18           B.      Declaring that Amazon’s actions, as set out above, violate the state privacy laws
19   cited herein;
20           C.      Requiring Amazon to delete all recordings of the Class members, and to
21   implement functionality to prevent further recording of the Class members without prior
22   consent;
23           D.      Awarding damages, including nominal, statutory, and punitive damages where
24   applicable, to Plaintiffs and the Classes in an amount to be determined at trial;
25           E.      Awarding Plaintiffs and the Classes their reasonable litigation expenses and
26   attorneys’ fees;
27

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 1           F.      Awarding Plaintiffs and the Classes pre- and post-judgment interest, to the extent
 2   allowable;
 3           G.      Awarding such other further injunctive and declaratory relief as is necessary to
 4   protect the interests of Plaintiffs and the Classes; and
 5           H.      Awarding such other and further relief as the Court deems reasonable and just.
 6                                     DEMAND FOR JURY TRIAL
 7           Plaintiffs demand a trial by jury for all issues so triable.
 8                                                   Respectfully submitted,
 9
     Dated: July 8, 2019
10
                                                     By:     /s/ Andrew S. Brown
11                                                   Andrew S. Brown, WSBA #49093
                                                     QUINN EMANUEL
12
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24
                                                     J. Dominick Larry (pro hac vice forthcoming)
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                                                    Fax: 312.971.3502
 6                                                  wdp@kellerlenkner.com
 7
                                                    Attorneys for Plaintiff and the Putative Class
 8

 9

10
                                      CERTIFICATE OF SERVICE
11
                     I hereby certify that, on July 8, 2019, I caused a true and correct copy of the
12

13   foregoing to be filed in this Court’s CM/ECF system, which sent notification of such filing to

14   counsel of record.
15

16                                                       /s/ Andrew S. Brown
                                                         Andrew S. Brown, WSBA #49093
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